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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION

 CAITLIN O’CONNOR,

                       Plaintiff,                     Case No.

                       v.
                                                      JURY DEMAND
 THE LAMPO GROUP, LLC a/k/a
 RAMSEY SOLUTIONS,

                        Defendant.
___________________________________/

                                         COMPLAINT

       After working for The Lampo Group, a/k/a Ramsey Solutions (“Ramsey Solutions”) for

over four years, Caitlin O’Connor notified Ramsey Solutions she was pregnant; however instead of

it being a joyful time she was terminated from her job because of her pregnancy. Ms. O’Connor

requested FMLA paperwork for the birth of her child and requested ADA paperwork since her

pregnancy is considered a geriatric pregnancy. Subsequently, Ms. O’Connor received a phone call

from a board member informing her she would have a meeting with a board member the next week.

During this meeting, Ms. O’Connor met with two board members who informed her Ramsey

Solutions was still deciding the best way to proceed. Ms. O’Connor finally had a meeting with the

Head of Human Resources and the board members and was informed she was being terminated due

to her pregnancy and for a violation of “Company Conduct,” because she is not married to her

partner, the baby’s father. Ramsey contends that her committed relationship and her pregnancy are

a violation of its “righteous living” policy. Accordingly, Ms. O’Connor files the instant Complaint

for both retaliation and interference violations of the Family and Medical Leave Act, Tennessee

Human Rights Act, the Tennessee Maternity Leave Act, and the Tennessee Disability Act.



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                                                      PARTIES

         1.         Plaintiff, Caitlin O’Connor, (“Ms. O’Connor”) is a citizen and resident of

Williamson County, Tennessee, and a former employee of Defendant. Plaintiff worked for

Defendant at its location in Franklin, Tennessee.

         2.         Defendant The Lampo Group, LLC, (“Lampo”) a/k/a Ramsey Solutions

(“Ramsey” or “Ramsey Solutions”) is a limited liability company licensed to transact business in

Tennessee. Its registered agent for service of process is Mark Floyd, 1011 Reams Fleming Blvd,

Franklin, TN, 37064-1844. At all material times, Defendant has been an employer as defined by

the FMLA, ADA, Title VII, and under state law.

         3.       At all times material to this action, Defendant has employed 50 or more employees

for each working day during each of 20 or more calendar workweeks in 2019 and/or 2020 and is

an "employer" as defined by the FMLA, 29 U.S.C. § 2611(4)(A).

         4.       At all times material to this action, Plaintiff was an “eligible employee” under the

FMLA pursuant to 29 U.S.C. § 2611(2) and 29 C.F.R. § 825.110.

         5.       At all times material to this action, Defendant was an employer within the meaning

of the THRA, TDA, and FMLA.

                                        JURISDICTION AND VENUE

         6.         This is an action for unlawful employment practices brought under the Family and

Medical Leave Act of 1993, 29 U.S.C. § 2601 et seq. (“FMLA”) (Count I); the Tennessee Human

Rights Act (“THRA”), T.C.A. §4-21-101, et seq. (Count II, V); 1 the Tennessee Maternity Leave

Act (“TMLA”), T.C.A. §4-21-408, et seq. (Count III), and the Tennessee Disability Act (“TDA”)


1
  Plaintiff is filing a Charge of Discrimination with the Equal Employment Opportunity Commission (“EEOC”)
alleging sex, disability, and religious discrimination and retaliation violations. Plaintiff intends to request her Right
to Sue and amend this Complaint to bring claims under Title VII of the Civil Rights Act of 1964 and the Americans
with Disabilities Act once her charge has been administratively exhausted.

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T.C.A. § 8-50-103 (Count IV).

       7.      The Court has jurisdiction under 28 U.S.C. §§ 1331, 1343(a)(4), and 1367(a).

Venue is proper under 28 U.S.C. § 1391.

                                             FACTS

       8.      Ms. O’Connor was employed with Ramsey Solutions over four years. She was

hired in February 22, 2016. Her position with Ramsey Solutions was as an Administrative

Assistant in the Information Technology Department.

       9.      Ms. O’Connor performed her job duties without incident and was never given a

write up for performance or place on a Performance Improvement Plan until recent events

described in this Complaint.

       10.     On June 18, 2020, Ms. O’Connor emailed Ramsey Solutions’s Head of Human

Resources, Armand Lopez, that she was 12 weeks pregnant and requested FMLA paperwork for

her maternity leave once she had her baby.

       11.     In this same email, Ms. O’Connor requested ADA accommodation paperwork to

take to her doctor, as she is considered to have a geriatric pregnancy due to her age and was unsure

if she would need accommodation or suffer any limitations during her pregnancy.

       12.     The next day, on June 19, 2020, Ms. O’Connor received a phone call from a board

member telling her that the next week she would have to have a meeting with the board.

       13.     On June 23, 2020, Ms. O’Connor met with two board members who told her

Ramsey Solutions was still deciding the best way to proceed with her situation.

       14.     On June 25, 2020, Mr. Lopez and Ramsey Solutions board members terminated

Ms. O’Connor due to her pregnancy and violating Ramsey Solutions’s rules of “Company

Conduct.”



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       15.        Ramsey Solutions’s Company Conduct provision in their handbook states, “The

image of Ramsey Solutions is held out to be Christian. Should a team member engage in behavior

not consistent with traditional Judeo-Christian values or teaching, it would damage the image and

the value of our good will and our brand. If this should occur, the team member would be subject

to review, probation, or termination.”

       16.        The Code of Conduct incorporates a “righteous living” policy which prohibits

premarital sex.

       17.        Ms. O’Connor’s violation of “Company Conduct” and righteous living policy is

that she and father of her child are in a committed long-term relationship, but not legally married,

nor do they desire to be married at this time.

       18.        Ms. O’Connor’s duties as Administrative Assistant included: managing her leader’s

calendars, daily emails, and day to day business. Ms. O’Connor would schedule meetings, one on

ones and annual reviews for the leaders and other employees. Ms. O’Connor would also take notes

during meetings, handle team member care which included sending flowers, supporting the staff

etc.

       19.        Ramsey Solutions’s termination of Ms. O’Connor interfered with her right to take

FMLA leave, discriminated against her due to her sex, pregnancy, religion, and disability, and was

in retaliation for becoming pregnant, requesting FMLA, and/or her disabilities.

       20.        Ramsey Solutions’s discriminatory policy has a disparate impact on women, in

particular pregnant women because they are unable to keep their private lives private in the event

they become pregnant because pregnancy is a very visible condition.

                                            Count I
                         Violation of FMLA – Retaliation and Interference

       21.        Plaintiff restates and incorporates herein the foregoing paragraphs.


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        22.     At all times material to this action, Plaintiff was an eligible employee under the

FMLA, 29 U.S.C. § 2611(2)(a)(i)(ii).

        23.     Defendant is an eligible employer under the FMLA, 29 U.S.C. § 2611(4)(A)(i).

        24.     Plaintiff was entitled to receive FMLA leave for the birth and care of a child.

        25.     Defendant subjected Plaintiff to adverse employment actions after she requested

FMLA, including but not limited to, interfering with her rights to take FMLA and terminating her.

        26.     Defendant’s actions constitute both interference and/or retaliation violations of the

FMLA.

        27.     Defendant’s conduct was a motivating factor in adverse employment actions

against Plaintiff.

        28.     Defendant’s conduct harmed and caused damage to Plaintiff.

        29.     As a result, Plaintiff is entitled to recover damages, including lost wages and

benefits, cost of replacement coverage or reimbursement for medical expenses, liquidated

damages, attorneys’ fees, costs, interest, reinstatement, front pay and benefits, and any other legal

and equitable relief to which she may be entitled.

                                          Count II
                      Violation of THRA- Sex Discrimination/Retaliation

        30.     Plaintiff restates and incorporates herein the above paragraphs in their entirety.

        31.     Plaintiff was subjected to disparate treatment in the terms and conditions of her job

the Defendant’s workplace because of her sex, female, and because of her pregnancy.

        32.     Plaintiff was qualified for her position.

        33.     Plaintiff suffered adverse employment actions as a result of discrimination on the

basis of sex, including, but not limited to different terms and conditions, loss of pay and benefits

and the loss of her job than similarly situated non-pregnant employees.

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        34.     Plaintiff objected to the manner in which she was being treated when she

complained to Defendant and refused to get married to satisfy their discriminatory demands and

behavior.

        35.     As a direct and proximate result of Defendant’s unlawful acts, Plaintiff suffered

and continues to suffer emotional pain, suffering, professional and personal embarrassment,

humiliation, inconvenience, lost earnings and benefits.

        36.     As a result, Plaintiff is entitled to recover her damages, including lost wages and

benefits, cost of replacement coverage or reimbursement for medical expenses, compensatory and

punitive damages, attorneys’ fees, costs, interest, reinstatement, front pay and benefits, and any

other legal and equitable relief to which she may be entitled.

                                           Count III
                          Violation of Tennessee Maternity Leave Act

        37.     Plaintiff restates and incorporates herein the above paragraphs in their entirety.

        38.     Plaintiff was employed for at least 12 months prior to her leave as a full-time

employee of Defendant.

        39.     Defendant employs a minimum of 100 employees.

        40.     Plaintiff gave at least three (3) months’ advance notice of her leave to Defendant.

        41.     Defendant subjected Plaintiff to disparate terms and conditions of employment after

she requested TMLA, including but not limited to, interfering with her rights to take TMLA and

terminating her.

        42.     Defendant’s conduct was a motivating factor in adverse employment actions

against Plaintiff.

        43.     Defendant’s conduct harmed and caused damage to Plaintiff.




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       44.     As a result, Plaintiff is entitled to recover damages, including lost wages and

benefits, cost of replacement coverage or reimbursement for medical expenses, attorneys’ fees,

costs, interest, reinstatement, front pay and benefits, and any other legal and equitable relief to

which she may be entitled.

                                         Count IV
                   Violation of TDA- Disability Discrimination/Retaliation

       45.     Plaintiff restates and incorporates herein the above paragraphs in their entirety.

       46.     Defendant is an employer as defined in the Tennessee Disability Act, T.C.A. § 8-

50-103 (“TDA”).

       47.     Plaintiff was regarded as an individual with a disability after she notified them of

her high risk pregnancy.

       48.     Defendant discriminated against Plaintiff on the basis of her disability in violation

of the TDA that culminated in her termination.

       49.     Plaintiff engaged in protected activity when she notified her employer of her

disability and requested paperwork regarding her disability. Such actions by the Plaintiff are

statutorily protected activities under the TDA.

       50.     Plaintiff was subjected to adverse employment actions in violation of the TDA.

       51.     As a direct and proximate result of Defendant’s unlawful acts, Plaintiff suffered

and continues to suffer professional and personal embarrassment, humiliation, inconvenience and

lost earnings and benefits.

       52.     As a result, Plaintiff is entitled to recover her damages, including lost wages,

benefits, cost of replacement coverage or reimbursement for medical expenses, compensatory and

punitive damages, attorneys’ fees, costs, interest, and any other legal and equitable relief to which

she may be entitled.

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                                         Count V
                  Violation of THRA- Religious Discrimination/Retaliation

       53.     Plaintiff restates and incorporates herein the above paragraphs in their entirety.

       54.     Plaintiff notified Defendant she was pregnant.

       55.     Defendant terminated her employment premised on a violation its “Core Values”

which incorporate a “righteous living” policy allegedly premised on its interpretation of “Judeo-

Christian” values that it believes prohibits or frowns upon premarital sex.

       56.     Premised on these alleged values, Defendant terminated Plaintiff’s employment

after she notified them of her pregnancy and not only terminated her employment, but in a

particularly cruel manner also her health insurance benefits which include pre and post-natal care.

       57.     Defendant terminated Plaintiff because of its religious based Core Value policy

which discriminates against employees who do not strictly adhere to Ramsey’s interpretation of

“Judeo-Christian” values for non-work related behavior.

       58.     As a direct and proximate result of Defendant’s unlawful acts, Plaintiff suffered

and continues to suffer emotional pain, suffering, professional and personal embarrassment,

humiliation, loss of enjoyment of life, inconvenience and lost earnings and benefits, including pre-

and post-natal coverage.

       59.     As a result, Plaintiff is entitled to recover damages, including lost wages and

benefits, compensatory damages, attorneys’ fees, costs, interest, reinstatement, front pay and

benefits, cost of replacement medical coverage or reimbursement for medical expenses, and any

other legal and equitable relief to which she may be entitled.

                                     RELIEF REQUESTED

        Plaintiff respectfully requests:

       1.       A jury trial;

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       2.       Judgment in favor of Plaintiff and against Defendant on all counts in this action;

       3.       Back pay and damages for lost benefits;

       4.       Reinstatement or front pay;

       5.       Compensatory damages for embarrassment, humiliation, stress, anxiety,

inconvenience, and loss of enjoyment of life;

       6.       Punitive damages;

       7.       Liquidated damages under the FMLA;

       8.       Attorneys’ fees and expenses;

       9.       Prejudgment interest and, if applicable, post-judgment interest; and

       10.      Such other and further legal or equitable relief to which she may be entitled.


                                                     Respectfully submitted,


                                                     s/ Heather Moore Collins
                                                     Heather Moore Collins BPR # 026099
                                                     Anne Bennett Hunter BPR # 022407
                                                     Ashley Shoemaker Walter BPR #037651
                                                     Collins & Hunter PLLC
                                                     7000 Executive Center Drive, Suite 320
                                                     Brentwood, TN 37027
                                                     615-724-1996
                                                     615-691-7019 FAX
                                                     heather@collinshunter.com
                                                     anne@collinshunter.com
                                                     ashley@collinshunter.com

                                                     Attorneys for Plaintiff




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                                                                               MOTION GRANTED.




                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE MIDDLE DISTRICT OF TENNESSEE
                               NASHVILLE DIVISION

 CAITLIN O’CONNOR,                               )
                                                 )
        Plaintiff,                               )   No. 3:20-cv-00628
                                                 )
 v.                                              )   Judge Eli J. Richardson
                                                 )
                                                 )
 THE LAMPO GROUP, LLC a/k/a                      )   Magistrate Judge Frensley
 RAMSEY SOLUTIONS,                               )   Jury Demand
                                                 )
        Defendant.                               )

       PLAINTIFF’S UNOPPOSED FIRST MOTION TO AMEND COMPLAINT

       COMES NOW Plaintiff Caitlin O’Connor pursuant to Rule 15(a)(1)(B), (c)(1)(C)(ii) of the

Federal Rules of Civil Procedure and Local Rule 15.01 and moves the Court for an order granting

Plaintiff leave to amend her Complaint (ECF 1) and file the attached Amended Complaint to add

claims that have been administratively exhausted at the EEOC. In particular, 180 days have passed

since Ms. O’Connor filed her charge with the EEOC, and a right to sue letter has been requested.

Thus, the Amended Complaint adds claims for violations of Title VII of the Civil Rights Act of

1964, 42 U.S.C. §§ 2000e et seq. (“Title VII”), discrimination on the basis of sex/pregnancy,

religion and retaliation; and for violations of the Americans with Disabilities Act 42 U.S.C. §§

12101 et. seq. (“ADA”), as amended by the ADA Amendments Act of 2008 (“ADAAA”) for

disability discrimination and retaliation. Plaintiff’s counsel conferred with Defendant’s counsel

who does not oppose the filing of the Amended Complaint.

       WHEREFORE, Plaintiff respectfully requests that the Court grant this motion and direct

the attached Amended Complaint be filed.

                                                     Respectfully submitted,




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                                                 s/ Heather Moore Collins
                                                 Heather Moore Collins BPR # 026099
                                                 Anne Bennett Hunter BPR # 022407
                                                 Ashley Shoemaker Walter BPR #037651
                                                 Collins & Hunter PLLC
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                                                 615-724-1996
                                                 615-691-7019 FAX
                                                 heather@collinshunter.com
                                                 anne@collinshunter.com
                                                 ashley@collinshunter.com

                                                 Attorneys for Plaintiff


                              CERTIFICATE OF SERVICE


I HEREBY certify that a copy of the foregoing has been served via the Court’s CM/ECF system
this the 5th day of February 2021 to counsel of record:

Leslie Goff Sanders
Daniel Crowell
WEBB SANDERS PLLC
611 Commerce Street
Suite 3102
Nashville, TN 37203
lsanders@webbsanderslaw.com
dcrowell@webbsanderslaw.com                      /s/ Heather Moore Collins
                                                 Attorney for Plaintiff




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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE MIDDLE DISTRICT OF TENNESSEE
                               NASHVILLE DIVISION

 CAITLIN O’CONNOR,              )
                                )
      Plaintiff,                ) No. 3:20-cv-00628
                                )
 v.                             ) Judge Eli J. Richardson
                                )
                                )
 THE LAMPO GROUP, LLC a/k/a     ) Magistrate Judge Frensley
 RAMSEY SOLUTIONS,              ) Jury Demand
                                )
      Defendant.                )
                       AMENDED COMPLAINT

       After working for The Lampo Group, a/k/a Ramsey Solutions (“Ramsey Solutions”) for

over four years, Caitlin O’Connor notified Ramsey Solutions she was pregnant; however instead of

it being a joyful time she was terminated from her job because of her pregnancy. Ms. O’Connor

requested FMLA paperwork for the birth of her child and requested ADA paperwork since her

pregnancy is considered a geriatric pregnancy. Subsequently, Ms. O’Connor received a phone call

informing her she would have a meeting with a board member the next week. During this meeting,

Ms. O’Connor met with two board members who informed her Ramsey Solutions was still deciding

the best way to proceed. Ms. O’Connor finally had a meeting with the Head of Human Resources

and the board members and was informed she was being terminated due to her pregnancy and for a

violation of “Company Conduct,” because she is not married to her partner, the baby’s father.

Ramsey contends that her committed relationship and her pregnancy are a violation of its “righteous

living” policy.   Accordingly, Ms. O’Connor files the instant Amended Complaint for both

retaliation and interference violations of the Family and Medical Leave Act, Tennessee Human

Rights Act, the Tennessee Maternity Leave Act, the Tennessee Disability Act, Title VII of the Civil

Rights Act of 1964 and the Americans with Disabilities Act.

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                                           PARTIES

       1.       Plaintiff, Caitlin O’Connor, (“Ms. O’Connor”) is a citizen and resident of

Williamson County, Tennessee, and a former employee of Defendant. Plaintiff worked for

Defendant at its location in Franklin, Tennessee.

       2.       Defendant The Lampo Group, LLC, (“Lampo”) a/k/a Ramsey Solutions

(“Ramsey” or “Ramsey Solutions”) is a limited liability company licensed to transact business in

Tennessee. Its registered agent for service of process is Mark Floyd, 1011 Reams Fleming Blvd,

Franklin, TN, 37064-1844.

       3.      At all times material to this action, Defendant has employed 50 or more employees

for each working day during each of 20 or more calendar workweeks in 2019 and/or 2020 and is

an "employer" as defined by the FMLA, 29 U.S.C. § 2611(4)(A).

       4.      At all times material to this action, Plaintiff was an “eligible employee” under the

FMLA pursuant to 29 U.S.C. § 2611(2) and 29 C.F.R. § 825.110.

       5.      At all times material to this action, Defendant was an employer within the meaning

of the THRA, TDA, TMLA, FMLA, ADA and Title VII.

                                JURISDICTION AND VENUE

       6.       This is an action for unlawful employment practices brought under the Family and

Medical Leave Act of 1993, 29 U.S.C. § 2601 et seq. (“FMLA”) (Count I); the Tennessee Human

Rights Act (“THRA”), T.C.A. §4-21-101, et seq. (Count II, V); the Tennessee Maternity Leave

Act (“TMLA”), T.C.A. §4-21-408, et seq. (Count III), and the Tennessee Disability Act (“TDA”)

T.C.A. § 8-50-103 (Count IV); Title VII of the Civil Rights Act of 1964, 42 U.S.C. §§ 2000e et

seq. (“Title VII”) (Count V, VI); and the Americans with Disabilities Act 42 U.S.C. §§ 12101 et.

seq. (“ADA”), as amended by the ADA Amendments Act of 2008 (“ADAAA”) (Count VII).



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        7.     The Court has jurisdiction under 28 U.S.C. §§ 1331, 1343(a)(4), and 1367(a).

Venue is proper under 28 U.S.C. § 1391.

        8.     Plaintiff complied with all conditions precedent to the filing of her claims pursuant

to 42 U.S.C. § 12101 et. seq. and 42 U.S.C. §§ 2000e et seq., to wit: a charge of discrimination

was filed with the Equal Employment Opportunity Commission (“EEOC”) within 300 days of the

unlawful employment practice; 180 days have passed since the filing of her charge of

discrimination, a right to sue letter has been requested, and thus, the charge prerequisites have been

satisfied.

                                              FACTS

        9.     Ms. O’Connor was employed with Ramsey Solutions over four years. She was

hired in February 22, 2016. Her position with Ramsey Solutions was as an Administrative

Assistant in the Information Technology Department.

        10.    Ms. O’Connor performed her job duties without incident and was never given a

write up for performance or placed on a Performance Improvement Plan until recent events

described in this Amended Complaint.

        11.    On June 18, 2020, Ms. O’Connor emailed Ramsey Solutions’ Head of Human

Resources, Armando Lopez, that she was 12 weeks pregnant and requested FMLA paperwork for

her maternity leave once she had her baby.

        12.    In this same email, Ms. O’Connor requested ADA accommodation paperwork to

take to her doctor, as she is considered to have a geriatric pregnancy due to her age and was unsure

if she would need accommodation or suffer any limitations during her pregnancy.

        13.    The next day, on June 19, 2020, Ms. O’Connor received a phone call from a board

member telling her that the next week she would have to have a meeting with the board.



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       14.     On June 23, 2020, Ms. O’Connor met with two board members who told her

Ramsey Solutions was still deciding the best way to proceed with her situation.

       15.     On June 25, 2020, Mr. Lopez and Ramsey Solutions board members terminated

Ms. O’Connor due to her pregnancy and violating Ramsey Solutions’ rules of “Company

Conduct.”

       16.     Ramsey Solutions’ Company Conduct provision in their handbook states, “The

image of Ramsey Solutions is held out to be Christian. Should a team member engage in behavior

not consistent with traditional Judeo-Christian values or teaching, it would damage the image and

the value of our good will and our brand. If this should occur, the team member would be subject

to review, probation, or termination.”

       17.     The Core Values incorporated into Ramsey’s Mission Statement incorporates a

“righteous living” policy or value which prohibits premarital sex.

       18.     Ms. O’Connor’s violation of “Company Conduct” and righteous living policy is

that she and the father of her child are in a committed long-term relationship, but not legally

married, nor do they desire to be married at this time.

       19.     Ms. O’Connor’s duties as Administrative Assistant included: managing her leader’s

calendars, daily emails, and day to day business. Ms. O’Connor would schedule meetings, one on

ones and annual reviews for the leaders and other employees. Ms. O’Connor would also take notes

during meetings, handle team member care which included sending flowers, supporting the staff

etc.

       20.     Ramsey Solutions’ termination of Ms. O’Connor interfered with her right to take

FMLA leave, discriminated against her due to her sex, pregnancy, religion, and disability, and was

in retaliation for informing them of her pregnancy due to it being “frowned upon here,” requesting



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FMLA, and/or accommodation for her disability.

        21.     Ramsey Solutions’ discriminatory policy has a disparate impact on women, in

particular pregnant women because they are unable to keep their private lives private in the event

they become pregnant because pregnancy is a very visible condition.

                                          Count I
                       Violation of FMLA – Retaliation and Interference

        22.     Plaintiff restates and incorporates herein the foregoing paragraphs.

        23.     At all times material to this action, Plaintiff was an eligible employee under the

FMLA, 29 U.S.C. § 2611(2)(a)(i)(ii).

        24.     Defendant is an eligible employer under the FMLA, 29 U.S.C. § 2611(4)(A)(i).

        25.     Plaintiff was entitled to receive FMLA leave for the birth and care of a child.

        26.     Defendant subjected Plaintiff to adverse employment actions after she requested

FMLA, including but not limited to, interfering with her rights to take FMLA and terminating her.

        27.     Defendant’s actions constitute both interference and/or retaliation violations of the

FMLA.

        28.     Defendant’s conduct was a motivating factor in adverse employment actions

against Plaintiff.

        29.     Defendant’s conduct harmed and caused damage to Plaintiff.

        30.     As a result, Plaintiff is entitled to recover damages, including lost wages and

benefits, cost of replacement coverage or reimbursement for medical expenses, liquidated

damages, attorneys’ fees, costs, interest, reinstatement, front pay and benefits, and any other legal

and equitable relief to which she may be entitled.

                                         Count II
                Violation of THRA- Sex/Pregnancy Discrimination/Retaliation



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       31.     Plaintiff restates and incorporates herein the above paragraphs in their entirety.

       32.     Plaintiff was subjected to disparate treatment in the terms and conditions of her job

the Defendant’s workplace because of her sex, female, and because of her pregnancy.

       33.     Plaintiff was qualified for her position.

       34.     Plaintiff suffered adverse employment actions as a result of discrimination on the

basis of sex/pregnancy, including, but not limited to different terms and conditions, loss of pay

and benefits and the loss of her job than similarly situated non-pregnant employees.

       35.     Plaintiff objected to the manner in which she was being treated when she

complained to Defendant and refused to get married to satisfy their discriminatory demands and

behavior.

       36.     As a direct and proximate result of Defendant’s unlawful acts, Plaintiff suffered

and continues to suffer emotional pain, suffering, professional and personal embarrassment,

humiliation, inconvenience, lost earnings and benefits.

       37.     As a result, Plaintiff is entitled to recover her damages, including lost wages and

benefits, cost of replacement coverage or reimbursement for medical expenses, compensatory and

punitive damages, attorneys’ fees, costs, interest, reinstatement, front pay and benefits, and any

other legal and equitable relief to which she may be entitled.

                                          Count III
                         Violation of Tennessee Maternity Leave Act

       38.     Plaintiff restates and incorporates herein the above paragraphs in their entirety.

       39.     Plaintiff was employed for at least 12 months prior to her leave as a full-time

employee of Defendant.

       40.     Defendant employs a minimum of 100 employees.

       41.     Plaintiff gave at least three (3) months’ advance notice of her leave to Defendant.

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        42.     Defendant subjected Plaintiff to disparate terms and conditions of employment after

she requested TMLA, including but not limited to, interfering with her rights to take TMLA and

terminating her.

        43.     Defendant’s conduct was a motivating factor in adverse employment actions

against Plaintiff.

        44.     Defendant’s conduct harmed and caused damage to Plaintiff.

        45.     As a result, Plaintiff is entitled to recover damages, including lost wages and

benefits, cost of replacement coverage or reimbursement for medical expenses, attorneys’ fees,

costs, interest, reinstatement, front pay and benefits, and any other legal and equitable relief to

which she may be entitled.

                                           Count IV
                     Violation of TDA- Disability Discrimination/Retaliation

        46.     Plaintiff restates and incorporates herein the above paragraphs in their entirety.

        47.     Defendant is an employer as defined in the Tennessee Disability Act, T.C.A. § 8-

50-103 (“TDA”).

        48.     Plaintiff was regarded as an individual with a disability after she notified them of

her high risk pregnancy.

        49.     Defendant discriminated against Plaintiff on the basis of her disability in violation

of the TDA that culminated in her termination.

        50.     Plaintiff engaged in protected activity when she notified her employer of her

disability and requested paperwork regarding her disability. Such actions by the Plaintiff are

statutorily protected activities under the TDA.

        51.     Plaintiff was subjected to adverse employment actions in violation of the TDA.




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       52.     As a direct and proximate result of Defendant’s unlawful acts, Plaintiff suffered

and continues to suffer professional and personal embarrassment, humiliation, inconvenience and

lost earnings and benefits.

       53.     As a result, Plaintiff is entitled to recover her damages, including lost wages,

benefits, cost of replacement coverage or reimbursement for medical expenses, compensatory and

punitive damages, attorneys’ fees, costs, interest, and any other legal and equitable relief to which

she may be entitled.

                                         Count V
             Violation of THRA & Title VII- Religious Discrimination/Retaliation

       54.     Plaintiff restates and incorporates herein the above paragraphs in their entirety.

       55.     Plaintiff notified Defendant she was pregnant.

       56.     Defendant terminated her employment premised on a violation its “Core Values”

which incorporate a “righteous living” value allegedly premised on its interpretation of “Judeo-

Christian” values that it believes prohibits or frowns upon premarital sex.

       57.     Premised on these alleged “Judeo-Christian” values, Defendant terminated

Plaintiff’s employment after she notified them of her pregnancy and not only terminated her

employment, but in a particularly cruel manner also her health insurance benefits which include

pre and post-natal care.

       58.     Defendant terminated Plaintiff because of its religious based Core Value policy

which discriminates against employees who do not strictly adhere to Ramsey’s interpretation of

“Judeo-Christian” values for non-work related behavior.

       59.     As a direct and proximate result of Defendant’s unlawful acts, Plaintiff suffered

and continues to suffer emotional pain, suffering, professional and personal embarrassment,




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humiliation, loss of enjoyment of life, inconvenience and lost earnings and benefits, including pre-

and post-natal coverage.

       60.     As a result, Plaintiff is entitled to recover damages, including lost wages and

benefits, compensatory damages, attorneys’ fees, costs, interest, reinstatement, front pay and

benefits, cost of replacement medical coverage or reimbursement for medical expenses, and any

other legal and equitable relief to which she may be entitled.

                                           Count VI
              Violation of Title VII- Sex, Pregnancy Discrimination/Retaliation

       61.     Plaintiff restates and incorporates herein the foregoing paragraphs.

       62.     Title VII defines “because of sex” or “on the basis of sex” as follows:


       The terms “because of sex” or “on the basis of sex” include, but are not limited to,
       because of or on the basis of pregnancy, childbirth, or related medical conditions;
       and women affected by pregnancy, childbirth, or related medical conditions shall
       be treated the same for all employment-related purposes, including receipt of
       benefits under fringe benefit programs, as other persons not so affected but similar
       in their ability or inability to work, and nothing in section 2000e–2 (h) of this title
       shall be interpreted to permit otherwise.
       42 U.S.C. § 2000e(k).


       63.     Plaintiff was subjected to disparate treatment in the terms and conditions of her job

in the Defendant’s workplace because of her sex, female.

       64.     Plaintiff was subject to disparate terms and conditions of employment that other

similarly situated males were not subject to.

       65.     Defendant’s “righteous living” policy, to the extent it requires discipline or

termination for sex outside of marriage that results in pregnancy can have a disparate impact on

female employees who become pregnant or will require pregnancy related leave.

       66.     Plaintiff was qualified for her position.


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       67.        Plaintiff suffered adverse employment actions as a result of discrimination on the

basis of sex/pregnancy, including, but not limited to different terms and conditions of employment,

retaliation for requesting an accommodation for her pregnancy, and eventually the loss of her job

than similarly situated non-pregnant employees.

       68.        As a direct and proximate result of Defendant’s unlawful acts, Plaintiff suffered

and continues to suffer emotional pain, suffering, professional and personal embarrassment,

humiliation, inconvenience, lost earnings and benefits.

                                            Count VII
                            Violation of ADA- Disability Discrimination

       69.        Plaintiff restates and incorporates herein the above paragraphs in their entirety.

       70.        Plaintiff was a qualified individual with a disability or regarded as disabled.

       71.        Defendant discriminated against Plaintiff on the basis of her disability in violation

of the ADA that culminated in her termination.

       72.        Plaintiff could perform the essential functions of her job and requested information

about reasonable accommodation due to her pregnancy that had the potential for complications

due to her age.

       73.        Plaintiff was terminated because of her disability and/or in retaliation for her

requests for the reasonable accommodation, and/or because she was regarded as disabled.

       74.        Plaintiff’s termination was because of her disability and/or because she was

regarded as disabled.

       75.        As a direct and proximate result of Defendant’s unlawful acts, Plaintiff suffered

and continues to suffer emotional pain, suffering, professional and personal embarrassment,

humiliation, loss of enjoyment of life, inconvenience and lost earnings and benefits.




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       76.     As a result, Plaintiff is entitled to recover her damages, including lost wages and

benefits, compensatory and punitive damages, attorneys’ fees, costs, interest, reinstatement, front

pay and benefits, and any other legal and equitable relief to which she may be entitled.

                                     RELIEF REQUESTED

        Plaintiff respectfully requests:

       1.       A jury trial;

       2.       Judgment in favor of Plaintiff and against Defendant on all counts in this action;

       3.       Back pay and damages for lost benefits;

       4.       Reinstatement or front pay;

       5.       Compensatory damages for embarrassment, humiliation, stress, anxiety,

inconvenience, and loss of enjoyment of life;

       6.       Punitive damages;

       7.       Liquidated damages under the FMLA;

       8.       Attorneys’ fees and expenses;

       9.       Prejudgment interest and, if applicable, post-judgment interest; and

       10.      Such other and further legal or equitable relief to which she may be entitled.


                                                     Respectfully submitted,


                                                     s/ Heather Moore Collins
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                                                     Anne Bennett Hunter BPR # 022407
                                                     Ashley Shoemaker Walter BPR #037651
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                                                 Attorneys for Plaintiff

                              CERTIFICATE OF SERVICE

I HEREBY certify that a copy of the foregoing has been served via the Court’s CM/ECF system
this the 5th day of February 2021 to counsel of record:

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                                                 s/ Heather Moore Collins_




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